 Case:14-08238-EAG13 Doc#:162 Filed:01/04/19 Entered:01/04/19 10:12:43        Desc: Main
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 1                        IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                     CASE NO. 14-08238-EAG13
 4   IVETTE ORTIZ ZAYAS                         Chapter 13

 5

 6
     xx-xx-7691
 7
                       Debtor                       FILED & ENTERED ON JAN/04/2019
 8

 9
                             ORDER GRANTING WITHDRAWAL OF MOTION
10
              Trustee’s motion withdrawing (docket entry #161):
11
                  [x] the motion to dismiss (docket entry #157)
12
                  [ ] the objection to claim #      filed by
13
                  [ ] the motion to lift stay
14
                  [ ] the legal representation of
15
     is hereby granted.
16
           IT IS SO ORDERED.
17
           In Ponce, Puerto Rico, this 4 day of January, 2019.
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